Case 2:21-cv-01253-NR Document 1-1 Filed 09/17/21 Page 1 of 20




           EXHIBIT A
       Case 2:21-cv-01253-NR Document 1-1 Filed 09/17/21 Page 2 of 20

   ^ja^-         Tfre Law Office ofTmiCy Qomez, LLC
                      2011 tNoBCe Street                    LeC: (412) 378-5854
                      Suite 201                             fax: (412) 357-1564
                      TittsBurgk, TJA 15218                 Lmaif: esg@egomezimv.com




                                                                    August 24, 2021


Jefferson Capital Systems, LLC
16 McLeland Road
St. Cloud, MN 56303                                                           I AUG 30 2021

Re: Chatmart v. Jefferson Capital Systems, LLC, AR-21-003405


Dear Sir or Madam,


Pursuant to Pa.R.C.P. 403, please find enclosed a copy of the Plaintiff's Complaint filed on
August 3, 2021 in the Court of Common Pleas of Allegheny County, Pennsylvania. The above-
captioned matter is currently scheduled for an arbitration hearing in Pittsburgh on November
10, 2021, in Room 702 of the City-County Building. Service of this Complaint is effective upon
receipt.


If you have any questions or concerns, please don't hesitate to contact me. I can be reached at
(412) 378-5854, or by email at esg@egomezlaw.com.




                                                     Sincerely Yours,




                                                     Emily S^G    ez-naye             A
 (3) Inbox | esg@egomezlaw.com | ProtonMail
                        Case 2:21-cv-01253-NR Document 1-1 Filed 09/17/21 Page 3 of 20                                           8/3/21, 3:03 PM




  Allegheny County Court of Common Pleas Event

  Notification: AR-21 -003405

  From: webmaster.pro@county.aliegheny.pa.us <WEBMASTER.PRO@COUNTY.ALLEGHENY.PA.US>

  To:      Emily Gomez <ESG@EGOMEZLAW.COM>

  CC:      promail@county.allegheny.pa.us <promail@county.allegheny.pa.us>

  Date: Tuesday, August 3rd, 2021 at 2:44 PM




    A Arbitration Hearing has been scheduled for
    AR-21-003405 - Chatman vs Jefferson Capital Systems LLC
    at Room 702, City-County Building on 11/10/2021 at 9:00


    Confidentiality Notice: This e-mail message, including any attachments, is for the sole use of the
    intended recipient(s) and may contain confidential and privileged information. Any unauthorized review,
    use, disclosure, forwarding, or distribution is prohibited. If you are not the intended recipient, please
    contact the sender by reply e-mail and destroy all copies of the original message.




https://mail.protonmail.com/u/0/inbox/-ZQIo1VXGKtDcQyBV9ISPJxP...f[PC8WiK5PVsKPB7Pcm50YpLrXDEQ1rFtE6KclBeALM6TV42fmVQ_Mss7MA==      Page 1 of 1
     Case 2:21-cv-01253-NR Document 1-1 Filed 09/17/21 Page 4 of 20




IN THE COURT OF COMMON PLEAS OF ALLEGHENY COUNTY, PENNSYLVANIA



TYRONE CHATMAN,                         CIVIL DIVISION


                           Plaintiff,
                                        CASE NO. AR-21- 3405
                    vs.



JEFFERSON CAPITAL SYSTEMS, LLC,         COMPLAINT


                          Defendant.
                                        Filed on Behalf of Plaintiff,
                                        Tyrone Chatman



                                        Counsel of Record for this Party:



                                        EMILY S. GOMEZ-IIAYES, ESQ.
                                        PA I.D.# 206926


                                        LAW OFFICE OF EMILY GOMEZ, LLC
                                        201 1 Noble Street, Suite 201
                                        Pittsburgh, PA 1 52 1 8
                                        Tel: 412-378-5854
                                        Fax:412-357-1564
                                        esg@egomezlaw.com

Jury Trial Demanded Upon
Removal or Appeal
      Case 2:21-cv-01253-NR Document 1-1 Filed 09/17/21 Page 5 of 20




IN THE COURT OF COMMON PLEAS OF ALLEGHENY COUNTY, PENNSYLVANIA



TYRONE CHATMAN,
                                                        CIVIL DIVISION
                             Plaintiff,


                      vs.                               CASE NO. AR-21-J

JEFFERSON CAPITAL SYSTEMS, LLC,


                            Defendant.




                                          NOTICE TO DEFEND


        YOU HAVE BEEN SUED IN COURT. If you wish to defend against the claims set
forth in the following pages, you must take action within TWENTY (20) days after this
complaint and notice are served, by entering a written appearance personally or by attorney and
filing in writing with the court your defenses or objections to the claims set forth against you.
You are warned that if you fail to do so, the ease may proceed without you and a judgment may
be entered against you by the court without further notice for any money claimed in the
complaint or for any claim or relief requested by the plaintiff. You may lose money or property
or other rights important to you.


     YOU SHOULD TAKE THIS PAPER TO YOUR LAWYER AT ONCE. IF YOU DO
NOT HAVE A LAWYER OR CANNOT AFFORD ONE, GO TO OR TELEPHONE THE
OFFICE SET FORTH BELOW. THIS OFFICE CAN PROVIDE YOU WITH INFORMATION
ABOUT HIRING A LAWYER.


     IF YOU CANNOT AFFORD TO HIRE A LAWYER, THIS OFFICE MAY BE ABLE
TO PROVIDE YOU WITH INFORMATION ABOUT AGENCIES THAI MAY OFFER
LEGAL SERVICES TO ELIGIBLE PERSON AT A REDUCED FEE OR NO FEE.


                                  LAWYER REFERRAL SERVICE
                                The Allegheny County Bar Association
                                      1 1th Floor Koppers Building
                                          436 Seventh Avenue
                                    Pittsburgh. Pennsylvania 15219
                                      Telephone: (412) 261-5555
      Case 2:21-cv-01253-NR Document 1-1 Filed 09/17/21 Page 6 of 20




                                     HEARING NOTICE

        YOU HAVE BEEN SUED IN COURT. The above Notice to Defendant explains what
you must do to dispute the claims made against you. If you file the written response referred to
in the Notice to Defendant, a hearing before a board of arbitrators will take place in the
Compulsory Arbitration Center. Report to the Arbitration Assembly Room, Courtroom Two,
Seventh Floor City-County Building, 416 Grant Street, Pittsburgh, Pennsylvania 15219, On
                at 9:00 a m. IF YOU FAIL TO FILE THE RESPONSE DESCRIBED
IN THE NOTICE TO DEFEND, A JUDGMENT FOR THE AMOUNT CLAIMED IN
THE COMPLAINT MAY BE ENTERED AGAINST YOU BEFORE THE HEARING.


       BY THE COURT:



                                        , A.J.




                   DUTY TO APPEAR AT ARBITRATION HEARING


    If one or more of the parties is not present at the hearing, THE MATTER MAY BE
HEARD AT THE SAME TIME AND DATE BEFORE A JUDGE OF THE COURT
WITHOUT THE ABSENT PARTY OR PARTIES. THERE IS NO RIGHT TO A TRIAL DE
NOVO ON APPEAL FROM A DECISION ENTERED BY A JUDGE.


      NOTICE: You must respond to this complaint within twenty (20) days or a
judgment for the amount claimed may be entered against you before the hearing.


     If one or more of the parties is not present at the hearing, the matter may be heard
immediately before a judge without the absent party or parties. There is no right to a trial
de novo on appeal from a decision entered by a judge.
         Case 2:21-cv-01253-NR Document 1-1 Filed 09/17/21 Page 7 of 20




IN THE COURT OF COMMON PLEAS OF ALLEGHENY COUNTY, PENNSYLVANIA


TYRONE CHATMAN,
                                                        CIVIL DIVISION
                              Plaintiff,


                       vs.                             CASE NO. AR-21-              6
JEFFERSON CAPITAL SYSTEMS, LLC,


                             Defendant.



                                            COMPLAINT


         AND NOW comes the Plaintiff, Tyrone Chatman, by and through his attorneys, Emily


Gomez-Hayes and the Law Office of Emily Gomez LLC, and makes the following Complaint,


asserting violations of the Fair Debt Collection Practices Act, 15 U.S.C. § 1692 et. seq.


("FDCPA"). In support thereof, he states as follows:


                                              PARTIES

    1.   Plaintiff Tyrone Chatman ("Plaintiff5), is a natural person and resident of Allegheny


County, Pennsylvania. Mr. Chatman is a "consumer" as defined by § 1692a(3) of the FDCPA.

Prior to 2021, Plaintiff allegedly incurred a financial obligation primarily for personal, family, or


household purposes - a "debt" as defined by § 1692a(5) of the FDCPA.


   2.    Defendant Jefferson Capital Systems, LLC ("JCS" or "Defendant") is a Georgia limited

liability corporation with a principal place of business in St. Cloud, MN. ICS's primary business


is the collection of charged-off consumer debt on behalf of original creditors and debt


purchasers.


   3.    In the ordinary course of business, JCS utilizes the mails and telephone in an effort to


collect charged-off debt from consumers in Allegheny County, Pennsylvania. Defendant is a


"debt collector" as defined by § 1 692(a)(6) of the FDCPA.
         Case 2:21-cv-01253-NR Document 1-1 Filed 09/17/21 Page 8 of 20




                                     FACTUAL ALLEGATIONS


    4.    On or about July 13, 2021, Defendant caused a letter (the "July Letter") to be sent to the


mailing address of Attorney Gregory Artim of Artim Law, LLC, although it was addressed to


Plaintiff. Exhibit A.


    5.    The July Letter advised Plaintiff that there were settlement offers available in connection


with a debt allegedly originated or owned by FingerHut Direct Marketing, the account number of


which ended in 5125. Id.


    6.   The alleged balance of this supposed FingerHut account is $1,463.39. Id.


    7.   Upon reading the letter, Attorney Artim had no idea what Defendant was talking about.


    8.    While Attorney Artim had represented Plaintiff in an unrelated legal dispute with a


completely different debt collector two years earlier, the account at issue in that matter had an


alleged balance of $2,657.21 . Exhibit B.


    9.   At no time did Attorney Artim represent Plaintiff with respect to the Credit Account


ending in 5125.


    10. With respect to the Credit Account ending in 5 125, Attorney Artim was a third party and


perfect stranger.


    1 1. As a result, Attorney Artim did not have Plaintiffs permission to view the private


financial information contained in the July Letter.


    12. Following his receipt of the July Letter, Attorney Artim informed Plaintiff that he had


received unsolicited, private financial information of his in connection with a credit account that


he had not retained him to handle.


    13. Upon receiving the July Letter, Plaintiff became extremely upset and anxious, and


worried that the security of any financial information of his in .ICS's possession was at risk.
       Case 2:21-cv-01253-NR Document 1-1 Filed 09/17/21 Page 9 of 20




    14. As a direct and proximate result of Defendant's conduct, Plaintiff has experienced


significantly increased anxiety, which has made it difficult to concentrate at work.


    15. As a direct and proximate result of Defendant's conduct, Plaintiff has suffered from


anxiety, embarrassment, stress, and lost sleep.


                                          Count I - FDCPA


    16. The preceding paragraphs are incorporated herein by reference.


    17. The foregoing acts and omissions of Defendant constituted (1) improper communication


to third parties, and (2) unfair practices in violation of 15 U.S.C. §§ 1692c and 1692f of the


FDCPA.


                           Communication with Third Parties: § 1692c


    18. In relevant part, § 1692c(b) requires that, inter alia:


               "[w]ithout the prior consent of the consumer given directly to the
                debt collector, or the express permission of a court of competent
               jurisdiction, or as reasonably necessary to effectuate a
               postjudgment judicial remedy, a debt collector may not
               communicate, in connection with the collection of a debt, with any
               person other than the consumer, his attorney, a consumer reporting
               agency if otherwise permitted by law, the creditor, the attorney of
               the creditor, or the attorney of the debt collector."


                15 U.S.C. § 1 692c(b).


    19. In the instant matter, Defendant's actions violated § 1692c(b) because it disseminated


private financial information of Plaintiff to a third party without Plaintiffs consent.


   20. While § 1692c(b) provides for communications to a consumer's attorney, Plaintiff had no


attorney with respect to the Credit Account ending in 5 125.


   21. Defendant's sending of the July Letter to Attorney Artim therefore violated § 1692c(b).


   22. As a result of Defendant's actions, Plaintiff has suffered such harm as has previously


been stated herein.
     Case 2:21-cv-01253-NR Document 1-1 Filed 09/17/21 Page 10 of 20




                            Unfair or Unconscionable Means: § 1692f


    23. In relevant part, § 1692f prohibits debt collectors from engaging in any:


                "[ujnfair or unconscionable means to collect or attempt to collect
               a debt."


               15 U.S.C. § 1 692f.


    24. Black's Law Dictionary defines unconscionable as:


               "[SJhowing no regard for conscience; affronting the sense of sense
               ofjustice, decency, or reasonableness."


               Black's Law Dictionary, 2nd Pocket Ed. 2001.

   25. In the instant matter Defendant's actions constituted unconscionable conduct in violation


of §1 692f, because disclosing a person's private financial information to third parties without


consent offends any objective person's sense ofjustice, decency, and reasonableness.


   26. As a result of Defendant' s actions, Plaintiff has suffered such harm as has previously

been stated herein.


   27. Due to the foregoing violations of 15 U.S.C. §§ 1692c and 1692f, Plaintiff is entitled to


actual damages pursuant to 15 U.S.C. § 1692k(a)(l); statutory damages in an amount of up to


$1000.00 pursuant to § 1692k(a)(2)(A); and reasonable attorneys' fees and costs pursuant to §


1692k(a)(3).


                                       Count II -FCEUA


   28. The preceding paragraphs are incorporated herein by reference.


   29. The foregoing acts and omissions of Defendant JCS constituted violations of 73 P.S. §


2270.4(a) of the FCEUA, based on Defendant's violations of 15 U.S.C. §§ 1692c and 1692f of


the FDCPA.
     Case 2:21-cv-01253-NR Document 1-1 Filed 09/17/21 Page 11 of 20



    :i' Violations of the FCTt ' \ in turn constitute per w violation^ of the Unfair Trade Practices


and Consumer Protection Law ("UTPCPL"). pursuant to 73 P.S. § 2270.5(a).


   31. Asa result of these violations. Plaintiff is entitled 10 up to three times his damages, costs.


and attorneys' fees pursuant to 73 P.S. ^ 201-9.2 of the UTPCPL.


                                     ii   )ue sr F<   i r :lii-:f


       WHEREF       (E. Plaintiff Tyrone Chatman respectfully requests that this Court;


           A.     Declare that the Defendant's actions violated the TDCPA and the TCTUA.

           B.     Enter judgment in favor of Plaintiff for actual and statutory damages, costs.


                  and reasonable attorneys" fees as provided by 5 1692k of the EDC'PA and i


                  201-9.2 of the UTPCPL: and


          I       Grant any further relief as deemed just.


                                          JURY DEMAND


       Plaintiff demands a trial by jury upon removal or appeal.



                                   ARBITRATION LIMITS


       This matter is tiled within the court's Arbitration Limits.




                                                      Respectfully submitted.


                                                      LA f OFFICE 01             MILY GOMEZ. LLC




                                                      Emily yk /nie/Ilavyf              J
                                                      PA EIV&206926          "
                                                      201 1 Noble Street, Suite 201
                                                      Pittsburgh. PA 15218
                                                      Tel: 41 2-3 78-5 854
                                                      Fax: 412-357-1564
                                                      esaa euomezhm .com
                                                      C 'ounsel for Plaintiff Tyrone Chatman
              Case 2:21-cv-01253-NR Document 1-1 Filed 09/17/21 Page 12 of 20


                                       VERIFICATION



        I, Tyrone C hatman. have read the foregoing Complaint, and affirm that the facts asserted
therein are true and correct to the best of my knowledge, information, and belief. This
verification is made subject to the penalties of 18 Pa.C.S. § 4d04, relating to unsworn

falsification to authorities.




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Dai-:
                                                        i
                                                      Tyrone Chatnian
                                                                           j A A. V>-—^
Case 2:21-cv-01253-NR Document 1-1 Filed 09/17/21 Page 13 of 20




                     EXHIBIT A
Case    2:21-cv-01253-NR Document 1-1 Filed 09/17/21 Page 14 of 20
 ( iirrom Creditor: .ll-:FFJ-.RSOX C'AI'I I'AI. SA S FF-MS I.L.C



                                                                                        1 Jefferson
  Account   XXXXXXXXXXXX5I25
  JCS Reference : 42<M55)Ufi4
  Debt IVscriplifn: FfXGl-R I IF I' DIRiiCT MRKTiNti
  Amount iif the Debt: SI.46.F..V)

                                                                                         #                     CAPITA :
              Juk 14,2021




                                            Payment Offers Available


 Dear Tyrone Ci Chultnan:

 Paying \ouf ou I standing balance can seem stressful, We have payment offers mailable to help \ on.


 Vou can deckle which plan works for von right now.

           ( )ffer U 1 - Sin Me oavmi'itt and the tartest savigas
           Resohe your account with a lump sum payment olT»5S5.35 which represents an approximate 60'\i savings.

           Offer ff2 - Payment ci]an with savin 's
           Resolve yuur account with n monthly payments of 5100,75 which represent an approximate 55° i> savings.

           Offer ,73 - Pay your account in full with monthly uavments
           Resolve vour+uwunl w ith \2 tnonlhh payments i«fSl2l.9 J winch repiv-etU,- payment of loll It: il .luee.


 We will request the credit bureaus delete the trudeline approximately 30 days alter die iinal payment has been posted that
 resolves the account.


 'litis mfuminiioEt is not legal advice. The law limits how long vou can be sued on a debt, Because of the age of your debt, we t Jefferson
 Capital System-. I I C) cannot sue vou lor il. In mum ciivunrUarices. you can renew the debt and slart the lime period for llie filing of a
 law-nil against v ou if you lake specific actions Mich as making certain puvntcnl mi the debt or making a written promise to pu\ . Vou
 should determine the oiled of any actions you hike with respect in tin's debt. Ifyou dti not pay the debt, we may report or continue to
 rejaut it in the credit reporting agencies as unpaid lor as long as the law pen nits this reporting.


 If none of these options work for you. there is still room to customize as needed. Our staff is trained to assist you with a
 program that suits \ our needs.

 !iim f» contact its:
      ~ Visit our web site at www L\1 yJCAP.com
         By Phone: S44-3M-7361 ([mglish and L-spanoi)
        1 lours of i ipOKlion: Mon- 1 hurs AM - 6 P\L bri M AM - 4 PM Central I ime
      v Send correspondence to: 1 b McLeland Road, Saint Cloud. MN 56303
        Vlail pa> nicnls to: Jefferson Capital Systems. LLC
                              Dept -Ml1*
                              PO Box I I -407
                              Birmingham, Ai. 35246-64 1 9

 Sincerely.
 Jefferson Capital Systems. LLC


                                                   Notice id' Additional Information:

 Comjijamtsi lfyoit hat e a complaint, please write lu us at 1 6 Mcl .eland Road Dept. ( 1 Saint Cloud. MN 56303 or call us toll-free at
 1      t S-004N Mmidav llirnugh Friday.




   Tins COM3*            TATJON IS FROM A DE"             TOLLECTOR AND !                 ATTEMPT TO COLl              T A DEBT, ANY
                            INFORMATION OB                \ED WILLBE I'SFJ               i THAT PURPOSE.
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Case 2:21-cv-01253-NR Document 1-1 Filed 09/17/21 Page 15 of 20
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Case 2:21-cv-01253-NR Document 1-1 Filed 09/17/21 Page 16 of 20




                     EXHIBIT B
                             Case 2:21-cv-01253-NR Document 1-1 Filed 09/17/21 Page 17 of 20

                                                       Magisterial District Judge 05-2-27
                                                                                    DOCKET
                      5V                                                                                      Docket Number: MJ-05227-CV-0000209-2018
    ft
                  >                                                                                                                                        Civil Docket
             iV                      1-                                    MIDLAND FUNDING LLC
M                     i '(                                                                 v.

   O                                                                            Tyrone Chatman
                                                                                                                                                                         Page 1 of 3

                                                                            CASE INFORMATION
Judoe Assigned:                   Magisterial District Judge Eugene                        File Date:                     09/04/2018
                                   Ricciardi
Claim Amount:                     $2,657.21                                                Case Status:                   Closed

Judgment Amount:                                                                           County:                       Allegheny

                                                                            CALENDAR EVENTS

Case Calendar                             Schedule                                                                                                       Schedule
Event Type                                Start Date     Start Time       Room                               Judge Name                                  Status

Civil Action Hearing                      10/18/2018      9:30 am         New Address as of                  Magisterial District Judge                  Continued
                                                                          16/01/2018                         Eugene Ricciardi

Civil Action Hearing                      02/12/2019      1:15 pm                                            Magisterial District Judge                  Continued
                                                                                                             Eugene Ricciardi


Civil Action Hearing                      06/04/2019      1:15 pm                                            Magisterial District Judge                  Continued
                                                                                                             Eugene Ricciardi


Civil Action Hearing                      06/25/2019      1:15 pm                                            Magisterial District Judge                  Scheduled
                                                                                                             Eugene Ricciardi


                                                                            CASE PARTICIPANTS
Participant Tvoe                 Participant Name                                        Address
Defendant                        Chatman, Tyrone                                         Pittsburgh, PA 15213
Plaintiff                        Midland Funding LLC                                     Philadelphia, PA 19113

                                                                         DISPOSITION SUMMARY
Docket Number                              Plaintiff                               Defendant                               Disposition                        DiSRflSitiQn Date
MJ-05227-CV-0000209-201 8                  Midland Funding LLC                     Tyrone Chatman                         Judgment for Defendant                     06/27/2019




MDJS 1200                                                                                                                                             Printed: 07/30/2021    2:39 pm

            Recent entries made in the court filing offices may not be immediately reflected on these docket sheets . Neither the courts of the Unified Judicial System of
             the Commonwealth of Pennsylvania nor the Administrative Office of Pennsylvania Courts assumes any liability for inaccurate or delayed data , errors or
             omissions on these docket sheets. You should verify that the information is accurate and current by personally consulting the official record reposing in
                                                                    the court wherein the record is maintained.
                        Case 2:21-cv-01253-NR Document 1-1 Filed 09/17/21 Page 18 of 20

                                                     Magisterial District Judge 05-2-27
                                                                                   DOCKET
                                                                                                             Docket Number: MJ-05227-CV-0000209-2018

                                                                                                                                                          Civil Docket
i                                5%
                                                                          MIDLAND FUNDING LLC

m                          Am                                                             v.

                                                                               Tyrone Chatman
                                                                                                                                                                        Page 2 of 3


                                                                        ATTORNEY INFORMATION

Complainant's Attorney                                                                 Complainant's Attorney

 Name: Daniel Joseph Santucci, Esq.                                                    Name: William Charles Cahill, Esq.

Representing: Midland Funding LLC                                                      Representing: Midland Funding LLC

Counsel Status: Active - Entry of Appearance                                           Counsel Status: Active - Entry of Appearance

Supreme Court No.: 092800                                                              Supreme Court No.: 314550

Pilsner 866-300-8750                                                                   Phone No.: 866-300-8750

Address:         1 1nternational Plaza 5th Floor                                       Address:         1 International Plaza 5th Floor
                 Philadelphia, PA 19113                                                                 Philadelphia, PA 19113
Entry of Appearance Filed Dt: 09/04/2018                                               Entry of Appearance Filed PI: 09/04/2018

Withdrawal of Entry of Appearance Filed Dt:                                            Wthdrawal of Entry of Appearance Filed Dt:

Private

Name: Gregory Thomas Artim, Esq.

Representing: Chatman, Tyrone

Counsel Status: Active - Entry of Appearance

Supreme Court No.: 080886

Phone No.: 412-823-8003

Address:         Morrow & Artim PC
                 1751 Lincoln Highway
                 North Versailles, PA 15137-2558
Entry of Appearance Filed Dt: 05/30/2019

Wthdrawal of Entry of Appearance Filed Dt:




MDJS 1200                                                                          Page 2 of 3                                                       Printed: 07/30/2021    2:39 pm

           Recent entries made in the court filing offices may not be immediately reflected on these docket sheets . Neither the courts of the Unified Judicial System of
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                                                                   the court wherein the record is maintained.
                         Case 2:21-cv-01253-NR Document 1-1 Filed 09/17/21 Page 19 of 20

                                                     Magisterial District Judge 05-2-27
                                                                                  DOCKET
                 A                                                                                           Docket Number: MJ-05227-CV-0000209-2018
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                                                                                                                                                         Civil Docket
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                                                                          MIDLAND FUNDING LLC


     4                       2!                                                           V.

                                                                               Tyrone Chatman
                                                                                                                                                                         Page 3 of 3


                                                                    DOCKET ENTRY INFORMATION
Filed Date           Entry                                             Filer                                                Applies To
06/27/201 9          Judgment for Defendant                                Magisterial District Court_05-2-27               Tyrone Chatman, Defendant

06/04/2019           Intent to Defend Filed                                Tyrone Chatman                                   Tyrone Chatman, Defendant

05/30/2019           Entry of Appearance Filed                             Gregory Thomas Artim, Esq.                       Tyrone Chatman, Defendant

05/07/2019           Civil Complaint Successfully Served                   Magisterial District Court 05-2-27               Tyrone Chatman, Defendant

04/23/2019           Civil Complaint Issued via Hand Delivery              Magisterial District Court 05-2-27               Tyrone Chatman, Defendant
03/19/2019           Civil Complaint Unsuccessfully Served                 Magisterial District Court 05-2-27               Tyrone Chatman, Defendant

12/28/2018           Civil Complaint Issued via Hand Delivery              Magisterial District Court 05-2-27               Tyrone Chatman, Defendant

12/28/2018^          Dismissed Without Prejudice                           Magisterial District Court 05-2-27               Tyrone Chatman, Defendant

12/28/2018           Civil Reinstatement                                   Magisterial District Court_05-2-27               Tyrone Chatman, Defendant
10/19/2018           Certified Civil Complaint Unclaimed                   Magisterial District Court 05-2-27               Tyrone Chatman, Defendant

09/07/2018           Certified Civil Complaint Issued                      Magisterial District Court 05-2-27               Tyrone Chatman, Defendant

09/04/2018           Entry of Appearance Filed                             Daniel Joseph Santucci, Esq.                     Midland Funding LLCrpiaintiff
09/04/2018           Civil Complaint Filed                                 Midland Funding LLC




MDJS1200                                                                           Page 3 of 3                                                       Printed: 07/30/2021     2:39 pm

        Recent entries made in the court filing offices may not be immediately reflected on these docket sheets . Neither the courts of the Unified Judicial System of
             the Commonwealth of Pennsylvania nor the Administrative Office of Pennsylvania Courts assumes any liability for inaccurate or delayed data , errors or
             omissions on these docket sheets. You should verify that the information is accurate and current by personally consulting the official record reposing in
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                            Case 2:21-cv-01253-NR Document 1-1 Filed 09/17/21 Page 20 of 20




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V

          Law Office of Emily Gomez, LLC
                                                                                                                                       w

                   201 1 Noble Street. Suite 201




                                                                70200640000201663337
                          Pittsburgh. PA 15218


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